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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 KELLY PRICE,

                                 Plaintiff,

                     -against-

 DETECTIVE LINDA SIMMONS; ADA
 MARIA STROHBEHN; ADA KENYA                                      15-CV-5871 (LAP)
 WELLS; THE CITY OF NEW YORK;
                                                               ORDER TO AMEND
 DEPUTY DA AUDREY MOORE; ADA
 LARRY NEWMAN; ADA LAURA HIGGINS
 NEE RICHENDORFER; CYRUS VANCE;
 JR.; INSPECTOR OBE; ROSE PIERRE-
 LOUIS; PO MATTHEW WINTERS,

                                 Defendants.

LORETTA A. PRESKA, United States District Judge:

        Plaintiff Kelly Price, appearing pro se, brings this action under 42 U.S.C. § 1983. By

order dated September 22, 2015, the Court granted Plaintiff’s request to proceed without

prepayment of fees, that is, in forma pauperis. On October 19, 2015, the Court granted Plaintiff

leave to file a second amended complaint, which Plaintiff filed on May 11, 2016. For the reasons

set forth below, the Court dismisses all claims in the second amended complaint with prejudice

except for Plaintiff’s § 1983 claims for false arrest, malicious prosecution, and First Amendment

retaliation.

                                    STANDARD OF REVIEW

        The Court must dismiss an in forma pauperis complaint, or portion thereof, that is

frivolous or malicious, fails to state a claim on which relief may be granted, or seeks monetary

relief from a defendant who is immune from such relief. 28 U.S.C. § 1915(e)(2)(B); see

Livingston v. Adirondack Beverage Co., 141 F.3d 434, 437 (2d Cir. 1998). While the law

mandates dismissal on any of these grounds, the Court is obliged to construe pro se pleadings
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liberally, Harris v. Mills, 572 F.3d 66, 72 (2d Cir. 2009), and interpret them to raise the “strongest

[claims] that they suggest,” Triestman v. Fed. Bureau of Prisons, 470 F.3d 471, 474-75 (2d Cir.

2006) (internal quotation marks and citations omitted) (emphasis in original).

                                         BACKGROUND

       Plaintiff Kelly Price’s second amended complaint contains 60 pages of allegations plus

approximately 350 pages of exhibits. Plaintiff alleges that her boyfriend, Raheem Powell, was a

drug dealer and police informant. In 2009, Powell allegedly began to abuse Plaintiff physically,

and she repeatedly called the police. Plaintiff and Powell each sought restraining orders against

each other. Police officers from the 28th Precinct of the New York City Police Department

(“NYPD”) eventually refused to accept police reports from Plaintiff, allegedly because the police

believed she was falsifying her injuries to frame Powell.

       On March 24, 2011, Defendant Detective Linda Simmons testified before Judge Sattler in

Family Court that she had investigated Plaintiff’s allegations of abuse and found them to be

untrue. Plaintiff alleges that Simmons’s testimony was false. After the court proceedings, four

police detectives from the 28th Precinct arrested Plaintiff outside the Family Court. She was

charged with 324 counts of aggravated harassment, presumably against Powell.

       On May 8, 2011, nonparty Detective Fontanez arrested Plaintiff on contempt charges

related to allegedly violating an order of protection. During a proffer session on June 24, 2011,

Plaintiff provided police with cell phones containing messages from Powell; Plaintiff alleges that

the cell phones have not been returned to her despite her repeated requests.

       In May or June 2011, residents of a women’s shelter on 120th Street in Manhattan

allegedly assaulted Plaintiff, but police declined to accept her report. Plaintiff made police

reports on August 2, 11, and 16, 2011, regarding alleged harassment by neighbors with loyalty to

Powell.
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       On September 24, 2011, an unidentified person assaulted Plaintiff in a bar in Manhattan.

She called the police, and unidentified police officers arrived; they later arrested her for allegedly

screaming at them. On October 17, 2012, Plaintiff was convicted of disorderly conduct arising

from this incident. On February 26, 2016, however, New York’s Appellate Term reversed the

conviction due to the insufficiency of the evidence. See People v. Price, 31 N.Y.S. 3d 923 (App.

Term 2016).

       On October 25, 2011, Plaintiff attempted to file a report that Powell violated an order of

protection, but officers refused to accept her report. On January 20, 2012, Plaintiff attempted to

make a report that a woman named Ina attacked her, but nonparty Detective Fontanez declined to

make an arrest based on the information that Plaintiff provided. Unidentified individuals attacked

Plaintiff on April 17, 2012, and July 14, 2012, but police officers refused to investigate her

complaints.

       The state court dismissed the criminal contempt charge and 324 aggravated harassment

charges against Plaintiff on July 25, 2012.

       An unnamed man attacked Plaintiff in or near a bar in Manhattan on July 28, 2012.

Nonparty Detective Galan allegedly failed to investigate Plaintiff’s complaint adequately, and

Plaintiff’s assailant allegedly later assaulted other women. Plaintiff complains that nonparty

Detective Galan did not timely investigate the assault but concedes that the attacker was

prosecuted, albeit unsuccessfully, for assaulting her.

       On October 18, 2012, an alleged heroin dealer assaulted Plaintiff as she walked past a

stoop at 125th Street and St. Nicholas Avenue in Harlem. Unnamed police officers told Plaintiff

that they had been instructed not to take her reports.




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        A cab driver refused to let Plaintiff out of the cab on June 2, 2013, and instead locked the

doors and sped up. The cab stopped at a red light. Plaintiff called out to police officers, but one

officer allegedly told his partner that Plaintiff was not to be given police services. Plaintiff called

911, but the police did not assist her.

        In July 2013, unnamed police officers issued Plaintiff a jaywalking ticket even though

she was not jaywalking. The charge was dismissed in court.

        In March 2014, nonparty Hannah Pennington, Director of the Family Justice Center

(“FJC”), denied Plaintiff access to services for domestic violence victims.

        In June 2014, Assistant District Attorney (“ADA”) Maloney addressed Plaintiff’s request

for records under New York’s Freedom of Information Law (“FOIL”). Plaintiff alleges that ADA

Maloney has a conflict of interest because she was also representing individuals “in a lawsuit.” 1

Plaintiff presumably argues in this complaint that ADA Maloney deprived her of an impartial

determination of her FOIL request.

        In late 2014, Plaintiff was blocked from posting comments on the Twitter accounts for the

NYPD’s 28th Precinct and the Mayor’s Office to Combat Domestic Violence, allegedly in

violation of her First Amendment rights. Plaintiff does not identify the individual(s) allegedly

responsible for blocking her comments or provide facts about the content of her comments that

were blocked.




        1
         According to public records, Plaintiff filed suit in Supreme Court, New York County,
against the City of New York, Police Detective Linda Simmons, and Assistant District Attorneys
Audrey Moore, Maria Strohbehn, and Kenya Wells – that is, she filed suit against many of the
same Defendants named in this action. See Price v. City of N.Y., No. 101414/2013. The resolution
of that matter is unclear, and the Court therefore lacks sufficient information to determine
whether preclusion principles apply.


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       Plaintiff alleges that on July 2, 2015, she was again assaulted. Officers from NYPD’s

Midtown North Precinct rejected Plaintiff’s attempt to file a complaint, and she was taken to the

psychiatric ward of Bellevue Hospital in Manhattan for evaluation. Plaintiff already had ongoing

treatment with Bellevue’s 9/11 survivor’s clinic, and she was released promptly from the

psychiatric ward. Plaintiff does not identify any person responsible for taking her to the hospital,

and it is unclear whether she went voluntarily.

       Plaintiff brings this action against the City of New York, District Attorney Cyrus Vance,

and five Assistant District Attorneys (Maria Strohbehn, Kenya Wells, Larry Newman, Laura

Higgins Nee Richendorfer, and Audrey Moore). She also sues Police Detective Linda Simmons,

Inspector Obe, Rose Pierre Louis, and Police Officer Matthew Winters. Plaintiff seeks

$30,000,000.00 in damages.

                                           DISCUSSION

       Statute of Limitations

       As set forth in the Court’s October 19, 2015 order, many of Plaintiff’s § 1983 claims are

time-barred. The statute of limitations for § 1983 claims is found in the “general or residual

[state] statute [of limitations] for personal injury actions,” Pearl v. City of Long Beach, 296 F.3d

76, 79 (2d Cir. 2002) (quoting Owens v. Okure, 488 U.S. 235, 249-50 (1989)). In New York, that

period is three years. See N.Y. C.P.L.R. § 214(5). Section 1983 claims generally accrue when a

plaintiff knows or has reason to know of the injury that is the basis of the claim. Hogan v.

Fischer, 738 F.3d 509, 518 (2d Cir. 2013).

       Because the failure to file an action within the limitations period is an affirmative

defense, a plaintiff is generally not required to plead that the case is timely filed. See Abbas v.

Dixon, 480 F.3d 636, 640 (2d Cir. 2007). Dismissal is appropriate, however, where the existence

of an affirmative defense, such as the statute of limitations, is plain from the face of the pleading.

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See Walters v. Indus. and Commercial Bank of China, Ltd., 651 F.3d 280, 293 (2d Cir. 2011)

(“[D]istrict courts may dismiss an action sua sponte on limitations grounds in certain

circumstances where the facts supporting the statute of limitations defense are set forth in the

papers plaintiff himself submitted.”) (internal quotation marks and citation omitted); Pino v.

Ryan, 49 F.3d 51, 53 (2d Cir. 1995) (affirming sua sponte dismissal of complaint as frivolous on

statute of limitations grounds).

       Plaintiff filed the complaint on July 24, 2015, and filed a first amended complaint as of

right on August 13, 2015. On October 9, 2015, the Court granted Plaintiff leave to file a second

amended complaint and directed her, among other things, to demonstrate whether she was

entitled to equitable tolling for the apparently time-barred claims. In her second amended

complaint, however, Plaintiff does not provide any facts suggesting that the statute of limitations

should be equitably tolled in this case; she simply repeats the same facts that appeared in her first

two pleadings. Because Plaintiff, after receiving notice and an opportunity to include facts

related to equitable tolling, fails to show any basis for tolling the limitations period, her § 1983

claims that accrued before July 24, 2012, are therefore dismissed as time-barred. 2

       In light of the dismissal of these claims, the Court addresses below only Plaintiff’s

allegations that are not plainly time-barred. Plaintiff claims that: (1) she was maliciously




       2
          The Court additionally notes that many of Plaintiff’s time-barred claims also suffer from
other defects. For example, many of the Defendants may be immune from suit for the conduct
alleged. See, e.g., Van de Kamp v. Goldstein, 555 U.S. 335, 344 (2009) (holding that prosecutors
are absolutely immune from suit for acts that may be administrative obligations but are “directly
connected with the conduct of a trial”); Daloia v. Rose, 849 F.2d 74, 75 (2d Cir. 1988) (“[W]e
hold that police officers who testify at adversarial pretrial proceedings are entitled to absolute
immunity from liability based on that testimony.”). Plaintiff also attempts to bring a procedural
due process claim arising from lost or stolen property, but she has not described how state law
remedies were inadequate to address this deprivation, as required to state a claim. Cf. Fredricks
v. City of N.Y., No. 12-CV-3734 (AT), 2014 WL 3875181, at *8-9 (S.D.N.Y. July 23, 2014).
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prosecuted for 324 charges of aggravated harassment and one charge of criminal contempt, and

that these charges were dismissed by the criminal court on July 25, 2012; (2) nonparty Detective

Galan failed to timely investigate Plaintiff’s allegations that on July 25, 2012, an unidentified

man assaulted her; (3) nonparty Hannah Pennington, Executive Director of the Family Justice

Center in March 2014, denied Plaintiff access to services for domestic violence victims; (4) in

June 2014. ADA Maloney addressed Plaintiff’s FOIL request despite Maloney’s alleged conflict

of interest stemming from Maloney’s involvement in an unspecified lawsuit; (5) on July 2, 2015,

unnamed officers from the Midtown North Precinct rejected Plaintiff’s attempt to report that she

had been assaulted and that she was taken by unidentified individuals to the Bellevue psychiatric

ward, where she was evaluated and released; and (6) she was maliciously prosecuted for

disorderly conduct, with New York’s Appellate Term reversing her conviction on February 26,

2016.

        Due-Process Claims

        The Court construes Plaintiff’s allegations that (1) ADA Maloney mishandled Plaintiff’s

FOIL requests due to Maloney’s alleged bias, (2) the FJC denied her services, and (3) unnamed

police officers refused to accept her report of an assault, as raising claims under the Fourteenth

Amendment’s Due Process clause.

        In a suit brought to enforce procedural due process rights, a court must determine

whether a property interest is implicated, and if it is, what process is due before the plaintiff may

be deprived of that interest. Nnebe v. Daus, 644 F.3d 147, 158 (2d Cir. 2011).

        1. Mishandling of FOIL Requests

        Under New York law, if a government official fails to comply with the provisions of

FOIL, the person submitting the FOIL request must pursue a specific “procedural path.” Tinker

St. Cinema v. State Dep’t of Transp., 678 N.Y.S.2d 124, 125 (2nd Dep’t 1998). First, “a person
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denied access to requested information under [FOIL] must appeal the denial in writing to the

head of the appropriate [state entity] within 30 days” of the denial. Id. at 125; N.Y. Pub. Off. Law

§ 89(4)(a). Next, if such an appeal is unsuccessful, the individual must institute an Article 78

proceeding in New York State court prior to challenging the denial of a FOIL request in a judicial

forum. N.Y. Pub. Off. Law § 89(4)(b); see Papay v. Haselhuhn, No. 07-CV-3858 (LAP), 2010

WL 4140430, at *9-10 (S.D.N.Y. Oct. 21, 2010) (availability of Article 78 proceeding defeats

claim that denial of FOIL request violates due process). Plaintiff thus has a state process

available in which she can raise any irregularity with the handling of her FOIL request.

       Moreover, Plaintiff cannot state a claim that any Defendant violated her federal due

process rights in connection with the handling of her FOIL request. “[D]ue process claims

require the establishment of a property interest, and because [plaintiff] could not, as a matter of

law, have a property interest in the mere expectation of receiving FOIL documents, [defendants’]

failure to provide [plaintiff] with all of the documents . . . requested does not amount to a

constitutional violation.” Simpson v. Town of Southampton, No. 06-CV-6743 (JFB), 2007 WL

1755749, at *4 (E.D.N.Y. June 15, 2007); see also Webb v. Ashburn, No. 96-CV-325 (SAS), 1997

WL 118355, at *6 (S.D.N.Y. Mar. 17, 1997) (“Plaintiff’s failure to commence an Article 78

proceeding and obtain a court order with regard to his … FOIL request precludes a finding of a

property interest in the requested documents.”). Because Plaintiff does not have a property

interest in receiving documents under FOIL, and because adequate process existed in New York

State courts, these allegations involving Defendant Maloney fail to state a § 1983 procedural due

process claim.




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       2. Affirmative Government Assistance

       The Due Process Clause “confer[s] no affirmative right to governmental aid, even where

such aid may be necessary to secure life, liberty, or property interests.” DeShaney v. Winnebago

Cnty. Dep’ t of Soc. Servs., 489 U.S. 189, 196 (1989). The Second Circuit has recognized two

exceptions to the general rule that the State has no duty to investigate or protect individuals:

First, “the state or its agents may owe a constitutional obligation to the victim of private violence

if the state had a ‘special relationship’ with the victim.” See Ying Jing Gan v. City of N.Y., 996

F.2d 522, 533 (2d Cir. 1993) (citing DeShaney, 489 U.S. at 198). Under federal law, a “special

relationship” is formed when the government takes custody of the plaintiff. See Matican v. City

of N.Y., 524 F.3d 151, 156 (2d Cir. 2008) (noting that “involuntary custody” is “the linchpin of

any special relationship exception”) (collecting cases). 3 Second, the government may assume

some obligation when it affirmatively creates or increases the danger to the plaintiff. See Dwares

v. City of N.Y., 985 F.2d 94, 98-99 (2d Cir. 1993).

               (i) Failure to Provide Services

       Plaintiff alleges that the FJC, which provides co-located, multi-disciplinary services for

victims of family violence and their children, deemed her ineligible for services. Plaintiff has

named the City of New York as a Defendant in this action. Even assuming that the FJC is an




       3
         Plaintiff cites several New York state-court cases for the proposition that a special
relationship existed between the NYPD and herself by virtue of the order of protection she
obtained against Powell. (See Sec. Am. Comp. at ¶ 24.) Those cases, however, deal exclusively
with negligence and wrongful death actions against municipalities, not § 1983 claims. See Town
of Castle Rock, Colo. v. Gonzales, 545 U.S. 748, 769 n.15 (2005).
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agency of the City of New York, 4 Plaintiff’s allegations fail to state a claim on which relief can

be granted.

       Plaintiff does not allege she was in custody, and she did not therefore have a special

relationship with the government such that it was required to provide her with services for

victims of domestic violence. See Matican, 524 F.3d at 156. Nor did FJC create or increase the

danger to Plaintiff. See DeShaney, 489 U.S. at 201 (“While the State may have been aware of the

dangers that [the child] faced in the free world, it played no part in their creation, nor did it do

anything to render him any more vulnerable to them.”); cf. Dwares, 985 F.2d at 98-99.

       Plaintiff’s allegations that the FJC denied her services do not state a federal constitutional

claim. For this reason, Plaintiff’s Due Process claim related to the denial of services is

dismissed. 5

                (ii) Failure to Investigate

       Plaintiff also fails to state a Due Process claim based on her allegations that on July 2,

2015, officers from the Midtown North police Precinct rejected her attempt to report that she had

been assaulted.

       The government generally has no affirmative duty under the Fourteenth Amendment to

protect an individual against harm from other private citizens. See DeShaney, 489 U.S. at 195-97

(“A State’s failure to protect an individual against private violence simply does not constitute a

violation of the Due Process Clause.”); see also Malloy v. City of N.Y., No. 93-CV-8919 (SS),




       4
          In support of this claim, Plaintiff attaches as an exhibit a printout of FJC’s website
indicating FJC is part of the Mayor’s Office to Combat Domestic Violence. (See Sec. Am.
Compl., Exh. GG.)
        5
          In the October 19, 2015 order, the Court granted leave for Plaintiff to detail this claim,
but she has failed to do so. Leave to further amend is therefore denied as futile. See Hill v.
Curcione, 657 F.3d 116, 123-24 (2d Cir. 2011).
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1996 WL 648927, at *2 (S.D.N.Y. Nov. 7, 1996) (Sotomayor, D.J.) (collecting cases). “[A]n

allegation simply that police officers had failed to act upon reports of past violence would not

implicate the victim’s rights under the Due Process Clause…” Dwares, 985 F.2d at 99.

       Plaintiff has not named any individuals as Defendants who were personally involved in

this incident. Moreover, she has not alleged that the government caused her harm by failing to

investigate the July 2, 2015, assault. See DeShaney, 489 U.S. at 201. Unlike the situation in

Dwares, where the police were alleged to have affirmatively colluded with the plaintiffs’

eventual assailants, Plaintiff has not alleged how the officers’ failure to accept her report of the

July 2, 2015, assault increased the danger posed to her. Nor has she adequately alleged that she

has a special relationship with the police such that they had a constitutional obligation to protect

her from private violence. See Matican, 524 F.3d at 156.

       Plaintiff’s allegations that in July 2015, police officers declined to take her report,

without more, thus fails to state a claim on which relief can be granted.

       False-Arrest Claims

       “‘A § 1983 claim for false arrest, resting on the Fourth Amendment right of an individual

to be free from unreasonable seizures, including arrest without probable cause, is substantially

the same as a claim for false arrest under New York law.’” Covington v. City of N.Y., 171 F.3d

117, 122 (2d Cir. 1999) (quoting Weyant v. Okst, 101 F.3d 845, 852 (2d Cir. 1996)). “Under New

York state law, to prevail on a claim of false arrest a plaintiff must show that ‘(1) the defendant

intended to confine [her], (2) the plaintiff was conscious of the confinement, (3) the plaintiff did

not consent to the confinement and (4) the confinement was not otherwise privileged.’” Jocks v.

Tavernier, 316 F.3d 128, 134-35 (2d Cir. 2003) (quoting Broughton v. State, 37 N.Y.2d 451, 456

(1975)).



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       Plaintiff makes two allegations that could conceivably be liberally construed as raising

false-arrest claims: In July 2013, police officers gave her a ticket for jaywalking (later

dismissed), even though she was not jaywalking, and in July 2015, police officers transported her

to Bellevue Hospital’s psychiatric ward, where she was promptly released. (Sec. Am. Comp. at

¶¶ 115, 120.) Plaintiff does not allege that she was taken to Bellevue against her will.

       In her more than 400-page second amended complaint, Plaintiff also does not name any

defendant relating to either claim, despite having availed herself of two opportunities to amend

her complaint. The Court therefore does not understand Plaintiff to be bringing false-arrest

claims arising from such facts. In an abundance of caution, however, the Court grants Plaintiff

leave to amend to include any additional facts that would support false-arrest claims.

       Malicious-Prosecution Claims

       The Court construes Plaintiff’s second amended complaint as asserting claims of

malicious prosecution related to her prosecutions (1) for aggravated harassment and criminal

contempt (id., at ¶ 107); and (2) for disorderly conduct (id., at ¶¶ 93-94). Plaintiff states these

prosecutions terminated in her favor when the harassment and contempt charges were dismissed

on July 25, 2012, and when the Appellate Term reversed her conviction on February 26, 2016.

       The tort of malicious prosecution “remedies detention accompanied, not by absence of

legal process, but by wrongful institution of legal process.” Wallace v. Kato, 549 U.S. 384, 389-

90 (2007). To state a claim for malicious prosecution, a plaintiff must allege facts showing:

(1) that the defendant initiated or continued a prosecution against the plaintiff; (2) that the

defendant lacked probable cause to commence the proceeding or believe the proceeding could

succeed; (3) that the defendant acted with malice; and (4) that the prosecution was terminated in

the plaintiff’s favor. See Fulton v. Robinson, 289 F.3d 188, 195 (2d Cir. 2002). Thus, because

favorable termination is an element of a malicious prosecution claim, a plaintiff who has been
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convicted and seeks to recover damages under § 1983 for malicious prosecution must show that

her conviction terminated in her favor by alleging that the conviction or sentence has been

reversed on direct appeal, expunged by executive order, invalidated by a state tribunal authorized

to make such determinations, or otherwise called into question by a federal court’s issuance of a

writ of habeas corpus. See Poventud v. City of N.Y., 750 F.3d 121, 129 (2d Cir. 2014) (en banc)

(citing Heck v. Humphrey, 512 U.S. 477, 481-82 (1994)).

       Even assuming that Plaintiff’s allegations suffice to state a claim for malicious

prosecution, she has not named as a Defendant the person or persons who “initiated or continued

a prosecution against” her for aggravated harassment and criminal contempt. See Fulton, 289

F.3d at 195; see also Cook v. Sheldon, 41 F.3d 73, 79 (2d Cir. 1994) (defendants initiated

criminal proceeding by formally charging plaintiff); Phelps v. City of N.Y., No. 04-CV-8570

(DLC), 2006 WL 1749528, at *4 (S.D.N.Y. June 27, 2006) (officers who were responsible for

arrest initiated prosecution, even though neither was the official “arresting officer”). Because the

original complaint was filed exactly three years after dismissal of these charges against Plaintiff,

any possible amendment must satisfy the requirements of Rule 15(c) of the Federal Rules of

Civil Procedure, which governs when a new party or claim can be added after the limitations

period has expired. Any amendment made by Plaintiff would be without prejudice to any

defenses that the Defendants may wish to assert.

       Plaintiff’s second malicious prosecution claim also warrants additional examination. She

alleges that on September 24, 2011, she was assaulted inside a bar and that unidentified police

officers arrested her “based on false statements that she had screamed at officers…” She was

convicted of disorderly conduct on October 18, 2012, but New York’s Appellate Term vacated




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the conviction and dismissed the complaint on the grounds the evidence was insufficient to

support the charge. See People v. Price, 31 N.Y.S.3d 923 (App. Term 2016).

         Plaintiff has not named the person or persons who initiated the disorderly conduct

prosecution against her or who otherwise maliciously prosecuted her. The Court grants Plaintiff

leave to amend the complaint to add this person or persons as defendants and add detail to this

claim.

         First Amendment Claims

         Plaintiff’s alleges that she was blocked from commenting on the Twitter accounts for the

NYPD’s 28th Precinct and the New York City Mayor’s Office to Combat Domestic Violence.

(Sec. Am. Comp. at ¶¶ 117-118). The Court construes these allegations as raising a § 1983 claim

for First Amendment retaliation.

         Where a private citizen asserts a First Amendment claim against a public official, the

plaintiff must demonstrate that (1) the plaintiff engaged in speech or conduct that the First

Amendment protects; (2) the plaintiff’s exercise of his First Amendment rights motivated the

defendant’s actions; and (3) the defendant’s actions effectively chilled the plaintiff’s exercise of

those rights. See Williams v. Town of Greenburgh, 535 F.3d 71, 76 (2d Cir. 2008) (citing Curley v.

Vill. of Suffern, 268 F.3d 65, 73 (2d Cir. 2001)); Moran v. City of New Rochelle, 346 F. Supp. 2d

507, 517 (S.D.N.Y. 2004). 6




         6
           In cases “involving criticism of public officials by private citizens,” the Second Circuit
has generally “impose[d] an actual chill requirement for First Amendment retaliation claims[,]”
i.e., a requirement that the plaintiff allege and ultimately prove an “actual chill” of her First
Amendment rights. Gill v. Pidlypchak, 389 F.3d 379, 381 (2d Cir. 2004) (citing Spear v. Town of
W. Hartford, 954 F.2d 63, 68 (2d Cir.1992)); see also Curley, 268 F.3d at 73 (holding that the
“plaintiff must show, with respect to the third element, that his First Amendment rights were
‘actually chilled’”).
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       As an initial matter, Plaintiff fails to describe the comments she made or include

allegations showing that she engaged in activity protected by the First Amendment. See, e.g.,

United States v. Turner, 720 F.3d 411, 426-27 (2d Cir. 2013) (“true threats” not protected by the

First Amendment).

       Moreover, Plaintiff has not named any defendants who may have been responsible for

blocking her from commenting on these government-run Twitter accounts, and the Court

therefore assumes that she brings this claim against the City of New York. But when a plaintiff

sues a municipality under § 1983, it is not enough for the plaintiff to allege that one of the

municipality’s employees or agents engaged in some wrongdoing. The plaintiff must show that

the municipality itself caused the violation of the plaintiff’s rights. See Connick v. Thompson,

563 U.S. 51, 60 (2011) (“A municipality or other local government may be liable under this

section [1983] if the governmental body itself ‘subjects’ a person to a deprivation of rights or

‘causes’ a person ‘to be subjected’ to such deprivation.” (quoting Monell v. Dep’t of Soc. Servs. of

City of New York, 436 U.S. 658, 692 (1978))); Cash v. Cnty. of Erie, 654 F.3d 324, 333 (2d Cir.

2011). In other words, to state a § 1983 claim against a municipality, the plaintiff must allege

facts showing: (1) the existence of a municipal policy, custom, or practice, and (2) that the

policy, custom, or practice caused the violation of the plaintiff’s constitutional rights. See Bd. of

Cnty. Comm’rs of Bryan Cnty. v. Brown, 520 U.S. 397, 403 (1997); Jones v. Town of East Haven,

691 F.3d 72, 80 (2d Cir. 2012).

       Plaintiff has not identified any municipal policy, custom, or practice that caused her to be

blocked from commenting on the two government-run Twitter accounts. She has therefore failed

to state a claim against the City of New York or any individual person. Because it is not clear




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from the allegations that leave to amend would be futile, the Court grants Plaintiff leave to

amend the complaint.

                                         LEAVE TO AMEND

        Plaintiff is granted leave to amend her complaint to detail her § 1983 claims of malicious

prosecution, false arrest and First Amendment retaliation. First, Plaintiff must name as the

defendant(s) in the caption 7 and in the statement of claim those individuals who were allegedly

involved in her alleged malicious prosecutions, false arrest, and retaliation. If Plaintiff does not

know the name of a defendant, she may refer to that individual as “John Doe” or “Jane Doe” in

both the caption and the body of the amended complaint. 8 The naming of John Doe defendants,

however, does not toll the three-year statute of limitations period governing this action and

Plaintiff shall be responsible for ascertaining the true identity of any “John Doe” defendants and

amending her complaint to include the identity of any “John Doe” defendants before the statute

of limitations period expires. Should Plaintiff seek to add a new party after the statute of

limitations period has expired, she must meet the requirements of Rule 15(c) of the Federal Rules

of Civil Procedure. In the statement of claim, Plaintiff must provide a short and plain statement

of the relevant facts supporting the malicious prosecution claim against each defendant named in

the amended complaint. Plaintiff is also directed to provide the addresses for any named

defendants. To the greatest extent possible, Plaintiff’s amended complaint must:

              give the names and titles of all relevant persons;



        7
           The caption is located on the front page of the complaint. Each individual defendant
must be named in the caption. Plaintiff may attach additional pages if there is not enough space
to list all of the defendants in the caption. If Plaintiff needs to attach an additional page to list all
defendants, he should write “see attached list” on the first page of the Amended Complaint. Any
defendants named in the caption must also be discussed in Plaintiff’s statement of claim.
         8
           For example, a defendant may be identified as: “Correction Officer John Doe #1 on
duty August 31, 2010, at Sullivan Correctional Facility, during the 7-3 p.m. shift.”
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             describe all relevant events, stating the facts that support Plaintiff’s case including
             what each defendant did or failed to do;

             give the dates and times of each relevant event or, if not known, the approximate date
             and time of each relevant event;

             give the location where each relevant event occurred;

             describe how each defendant’s acts or omissions violated Plaintiff’s rights and
             describe the injuries Plaintiff suffered; and

             state what relief Plaintiff seeks from the Court, such as money damages, injunctive
             relief, or declaratory relief.

       Essentially, the body of Plaintiff’s amended complaint must tell the Court: who violated

her federally protected rights; what facts show that her federally protected rights were violated;

when such violation occurred; where such violation occurred; and why Plaintiff is entitled to

relief. Because Plaintiff’s third amended complaint will completely replace, not supplement, the

original complaint, any facts or claims that Plaintiff wishes to maintain must be included in the

third amended complaint.

                                           CONCLUSION

       The Clerk of Court is directed mail a copy of this order to Plaintiff and note service on

the docket. Plaintiff is granted leave of 30 days to file an amended complaint that complies with

the standards set forth above. Plaintiff must submit the amended complaint to this Court’s Pro Se

Intake Unit within thirty days of the date of this order, caption the document as a “Third

Amended Complaint,” and label the document with docket number 15-CV-5871 (LAP). An

Amended Complaint form is attached to this order. No summons will issue at this time. If

Plaintiff fails to comply within the time allowed, and she cannot show good cause to excuse such

failure, the complaint will be dismissed for failure to state a claim upon which relief may be

granted.




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       The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from this order would

not be taken in good faith, and therefore in forma pauperis status is denied for the purpose of an

appeal. Cf. Coppedge v. United States, 369 U.S. 438, 444-45 (1962) (holding that an appellant

demonstrates good faith when he seeks review of a nonfrivolous issue).

SO ORDERED.

 Dated:    July 26, 2016
           New York, New York

                                                           LORETTA A. PRESKA
                                                          United States District Judge




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


(In the space above enter the full name(s) of the plaintiff(s). )           AMENDED
                                                                            COMPLAINT
                   -against-                                             under the Civil Rights Act,
                                                                             42 U. S. C. § 1983



                                                                           Jury Trial:   Q   Yes       Q   No
                                                                                             (check one)


                                                                            ____   Civ. _________ (        )


(In the space above enter the full name(s) of the defendant(s). If you
cannot fit the names of all of the defendants in the space provided,
please write “see attached” in the space above and attach an
additional sheet of paper with the full list of names. The names
listed in the above caption must be identical to those contained in
Part I. Addresses should not be included here. )


I.       Parties in this complaint:

A.       List your name, identification number, and the name and address of your current place of
         confinement. Do the same for any additional plaintiffs named. Attach additional sheets of paper
         as necessary.

Plaintiff’s        Name_____________________________________________________________
                   ID#_______________________________________________________________
                   Current Institution___________________________________________________
                   Address___________________________________________________________
                   __________________________________________________________________

B.       List all defendants’ names, positions, places of employment, and the address where each defendant
         may be served. M ake sure that the defendant(s) listed below are identical to those contained in the
         above caption. Attach additional sheets of paper as necessary.



Defendant No. 1                Name ___________________________________________ Shield #_________
                               Where Currently Employed __________________________________________
                               Address __________________________________________________________
                               _________________________________________________________________


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               Defendant No. 2          Name ___________________________________________ Shield #_________
                                        Where Currently Employed __________________________________________
                                        Address __________________________________________________________
                                        _________________________________________________________________


               Defendant No. 3          Name ___________________________________________ Shield #_________
                                        Where Currently Employed __________________________________________
                                        Address __________________________________________________________
                                         _________________________________________________________________
W ho did
w hat?
               Defendant No. 4           Name ___________________________________________ Shield #_________
                                         Where Currently Employed __________________________________________
                                        Address __________________________________________________________
                                        _________________________________________________________________


               Defendant No. 5          Name ___________________________________________ Shield #_________
                                        Where Currently Employed __________________________________________
                                        Address __________________________________________________________
                                        _________________________________________________________________


               II.     Statement of Claim:

               State as briefly as possible the facts of your case. Describe how each of the defendants named in the
               caption of this complaint is involved in this action, along with the dates and locations of all relevant events.
               You may wish to include further details such as the names of other persons involved in the events giving
               rise to your claims. Do not cite any cases or statutes. If you intend to allege a number of related claims,
               number and set forth each claim in a separate paragraph. Attach additional sheets of paper as necessary.


               A.      In what institution did the events giving rise to your claim(s) occur?
                       _______________________________________________________________________________
                       _______________________________________________________________________________



               B.      Where in the institution did the events giving rise to your claim(s) occur?

                       _______________________________________________________________________________

               C.      What date and approximate time did the events giving rise to your claim(s) occur?
                       _______________________________________________________________________________
                       _______________________________________________________________________________
                       _______________________________________________________________________________



               D.      Facts:__________________________________________________________________________
W hat          _____________________________________________________________________________________
h ap p en ed
to you ?       _____________________________________________________________________________________
               _____________________________________________________________________________________
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                _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
W as            _____________________________________________________________________________________
anyone
else            _____________________________________________________________________________________
involved?
                _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________

W ho else
saw w hat
h ap p en ed?
                III.     Injuries:

                If you sustained injuries related to the events alleged above, describe them and state what medical
                treatment, if any, you required and received.

                ______________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
                ______________________________________________________________________________________


                IV.      Exhaustion of Administrative Remedies:

                The Prison Litigation Reform Act (" PLRA" ), 42 U. S. C. § 1997e(a), requires that “ [n]o action shall be
                brought with respect to prison conditions under section 1983 of this title, or any other Federal law, by a
                prisoner confined in any jail, prison, or other correctional facility until such administrative remedies as are
                available are exhausted. ” Administrative remedies are also known as grievance procedures.

                A.       Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

                         Yes ____    No ____




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If YES, name the jail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s).

_____________________________________________________________________________________
_____________________________________________________________________________________
______________________________________________________________________________________


B.      Does the jail, prison or other correctional facility where your claim(s) arose have a grievance
        procedure?

        Yes ____     No ____       Do Not Know ____

C.      Does the grievance procedure at the jail, prison or other correctional facility where your claim(s)
        arose cover some or all of your claim(s)?

        Yes ____     No ____      Do Not Know ____

        If YES, which claim(s)?
        _______________________________________________________________________________

D.      Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose?

        Yes ____     No ____

        If NO, did you file a grievance about the events described in this complaint at any other jail,
        prison, or other correctional facility?

        Yes ____     No ____

E.      If you did file a grievance, about the events described in this complaint, where did you file the
        grievance?
        _______________________________________________________________________________


        1.     Which claim(s) in this complaint did you grieve?
         ______________________________________________________________________________

        _______________________________________________________________________________

        2.    What was the result, if any?
        _______________________________________________________________________________

        _______________________________________________________________________________

        3.      What steps, if any, did you take to appeal that decision? Describe all efforts to appeal to
        the highest level of the grievance process.
        _______________________________________________________________________________
        _______________________________________________________________________________
        _______________________________________________________________________________
        _______________________________________________________________________________


F.      If you did not file a grievance:

        1.     If there are any reasons why you did not file a grievance, state them here:
               _________________________________________________________________________
               ________________________________________________________________________
                ________________________________________________________________________

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                  ________________________________________________________________________
                  ________________________________________________________________________
                  ________________________________________________________________________


        2.        If you did not file a grievance but informed any officials of your claim, state who you
                  informed, when and how, and their response, if any:

                  ________________________________________________________________________
                  ________________________________________________________________________
                  ________________________________________________________________________
                  ________________________________________________________________________
                  ________________________________________________________________________
                  ________________________________________________________________________



G.      Please set forth any additional information that is relevant to the exhaustion of your administrative
        remedies.
        _______________________________________________________________________________
        _______________________________________________________________________________
        _______________________________________________________________________________
        _______________________________________________________________________________
        _______________________________________________________________________________
        _______________________________________________________________________________
        _______________________________________________________________________________
        _______________________________________________________________________________

Note:   You may attach as exhibits to this complaint any documents related to the exhaustion of your
        administrative remedies.


V.      Relief:

State what you want the Court to do for you (including the amount of monetary compensation, if any, that
you are seeking and the basis for such amount).




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           VI.     Previous lawsuits:

           A.      Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
On
these              action?
claims
                   Yes ____ No ____

           B.      If your answer to A is YES, describe each lawsuit by answering questions 1 through 7 below. (If
                   there is more than one lawsuit, describe the additional lawsuits on another sheet of paper, using
                   the same format. )

                   1.      Parties to the previous lawsuit:

                   Plaintiff
                   Defendants

                   2. Court (if federal court, name the district; if state court, name the county) ________________

                   3.      Docket or Index number
                   4.      Name of Judge assigned to your case__________________________________________
                   5.      Approximate date of filing lawsuit
                   6.      Is the case still pending? Yes ____ No ____
                           If NO, give the approximate date of disposition__________________________________
                   7.      What was the result of the case? (For example: Was the case dismissed? Was there
                           judgment in your favor? Was the case appealed?) _______________________________
                           ________________________________________________________________________
                           ________________________________________________________________________


           C.      Have you filed other lawsuits in state or federal court otherwise relating to your imprisonment?
 On
 other             Yes ____     No ____
 claim s



           D.      If your answer to C is YES, describe each lawsuit by answering questions 1 through 7 below. (If
                   there is more than one lawsuit, describe the additional lawsuits on another piece of paper, using
                   the same format. )

                   1.      Parties to the previous lawsuit:

                   Plaintiff
                   Defendants


                   2.      Court (if federal court, name the district; if state court, name the county) ___________

                   3.      Docket or Index number
                   4.      Name of Judge assigned to your case_________________________________________
                   5.      Approximate date of filing lawsuit

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        6.      Is the case still pending? Yes ____ No ____
                If NO, give the approximate date of disposition_________________________________

        7.      What was the result of the case? (F or example: Was the case dismissed? Was there
                judgment in your favor? Was the case appealed?) ______________________________
                ________________________________________________________________________
                _________________________________________________________________________



I declare under penalty of perjury that the foregoing is true and correct.

Signed this     day of                    , 20   .


                                 Signature of Plaintiff    _____________________________________
                                 Inmate Number             _____________________________________
                                 Institution Address       _____________________________________
                                                           _____________________________________
                                                           _____________________________________
                                                           _____________________________________



Note:   All plaintiffs named in the caption of the complaint must date and sign the complaint and provide
        their inmate numbers and addresses.


I declare under penalty of perjury that on this _____ day of _________________, 20__, I am delivering
this complaint to prison authorities to be mailed to the Pro Se Office of the United States District Court for
the Southern District of New York.


                                 Signature of Plaintiff:   _____________________________________




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